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 8                               UNITED STATES DISTRICT COURT

 9                             EASTERN DISTRICT OF CALIFORNIA

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11    IN RE MOTION TO COMPEL LESLIE                    No. 1:22-mc-00043 JLT EPG
      WESTMORELAND’S COMPLIANCE
12    WITH NON-PARTY SUBPOENA, FILED                   ORDER ADOPTING FINDINGS AND
      BY STATE BAR OF CALIFORNIA                       RECOMMENDATIONS RE CONTEMPT
13
                                                       (Doc. 22)
14

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17          The State Bar of California (“the Bar”) filed this miscellaneous action to compel Leslie

18   Westmoreland’s compliance with a non-party subpoena. (Doc. 1.) After Westmoreland failed to

19   respond, the assigned magistrate judge ordered Westmoreland to comply with the subpoena.

20   (Doc. 14.) After Westmoreland failed to comply, the Bar moved the Court to find Westmoreland

21   in civil contempt for failure to comply with a court order and to award it nominal sanctions of $1.

22   (Doc. 16.)

23          After Westmoreland failed to respond to the Bar’s motion, the assigned magistrate judge

24   issued findings and recommendations on June 30, 2022, certifying the facts constituting a civil

25   contempt, see 28 U.S.C. § 636(e)(6), and recommending that Westmoreland be found in civil

26   contempt and that the Bar be awarded $1 as a sanction. (Doc. 22.) The findings and

27   recommendations were served upon Westmoreland, which included a notice that any objections

28   thereto were to be filed within twenty-one days of service. (Id. at 10.) No objections have been

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 1   filed, and the time to do so has since expired.

 2          According to 28 U.S.C. § 636 (b)(1)(C), the Court conducted a de novo review of the case.

 3   Having carefully reviewed the entire matter, the Court concludes the findings and

 4   recommendations are supported by the record and proper analysis. Thus, the Court ORDERS:

 5          1.      The findings and recommendations issued on June 30, 2022 (Doc. 22), are

 6                  ADOPTED IN FULL.

 7          2.      The State Bar of California’s motion (Doc. 16) is GRANTED as to its request to

 8                  find Leslie Westmoreland in contempt and its request for sanctions.

 9          3.      Leslie Westmoreland is held in civil contempt based on his failure to comply with

10                  the magistrate judge’s April 7, 2022, order.

11          4.      Leslie Westmoreland is ordered to pay $1 as a sanction to the Bar within thirty

12                  days of service of this order.

13          5.      The Clerk is directed to serve Leslie Westmoreland with a copy of this order at

14                  4235 North College Avenue, Fresno, California 93704.

15          6.      The Bar is directed to file a brief status report with the Court within three days of

16                  the payment of the sanction or the expiration of the deadline for payment,

17                  whichever is sooner, indicating whether the case may again be closed or whether

18                  any further proceedings are needed.

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     IT IS SO ORDERED.
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21      Dated:     July 29, 2022
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